                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

                                            No 5:17-CR-330-D
                                            No. 5:20-CV-284-D




     UNITED STATES OF AMERICA
                                                                RESPONSE IN OPPOSITION TO
                                                                  GOVERNMENT MOTION TO
       v.
                                                                          STAY
     ALFRED LAMONT CROWDER



       On August 13, the Government filed a motion to stay this matter pending issuance of the

mandate in United States v. Gary, 954 F.3d 194 (4th Cir. 2020). The Court should deny that

motion. The Fourth Circuit has denied rehearing en banc, with no judge calling for a poll. United

States v. Gary, Fourth Cir. No. 18-4578, ECF No. 64. And, just yesterday, the Fourth Circuit

applied Gary and resolved a matter in which the defendant sought vacatur of his plea and sentence

on the basis of Rehaif v. United States, 139 S. Ct. 2191, 2200 (2010), the same case upon which

Mr. Crowder bases his claim of relief. United States v. Torain, No. 19-4361 (4th Cir. Aug. 13,

2020). Thus, the Fourth Circuit’s own actions demonstrate that application of Gary to pending

cases is proper. A stay is inappropriate.

       “The party seeking a stay must justify it by clear and convincing circumstances

outweighing potential harm to the party against whom it is operative.” Williford v. Armstrong

World Indus., Inc., 715 F.2d 124, 127 (4th Cir. 1983). The Government has failed to make such a

showing here. The appeal as of right in Mr. Gary’s case is complete and any further review by the

Supreme Court is speculative and does not present a compelling reason to hold this case in

abeyance. The Supreme Court receives approximately 7,000 to 8,000 petitions for a writ of

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certiorari each Term and only hears oral argument in about eighty of them, for a grant rate of

approximately one percent. See Supreme Court of the United States, Frequently Asked Questions,

https://www.supremecourt.gov/about/faq_general.aspx (last visited July 15, 2020). What is more,

under current Supreme Court Rules, the Government would have 150 days from July 7, 2020—

until December 4, 2020—to file a petition for certiorari, rendering any review, even if granted,

unlikely to occur before October Term 2021, with any opinion expected by June 2022—nearly two

years from now. All of this delay severely prejudices Mr. Crowder, who has served multiple years

of a sentence imposed on the basis of a constitutionally invalid guilty plea.

       The Government also stacks delay upon delay. The Government seeks a stay pending

issuance of the Gary mandate and another month after that in which to respond to Mr. Crowder’s

motion. [DE 66 at 4]. This request ignores the statute’s mandate requiring courts to “grant a prompt

hearing” on motions to vacate. 28 U.S.C. § 2255(b). Rule 4 of the Rules Governing Section 2255

Cases reinforces that mandate, instructing the clerk of court to “promptly forward” motions to the

judge and directs the court to “promptly examine” them. The court is directed to “order the United

States Attorney to file an answer, motion, or other response within a fixed time, or to take other

action the judge may order.”

       The Government has not shown clear and convincing circumstances that outweigh Mr.

Crowder’s liberty interest from a constitutionally invalid conviction.

       What is more, the Government’s boilerplate language preserving objections has no

application here: Mr. Crowder’s petition is timely (it was filed within one year of the Supreme

Court’s decision in Rehaif v. United States¸ 139 S. Ct. 2191 (2019)), and Mr. Crowder has no

pending Section 2255 motion that would need to be amended nor has he had a previous Section




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2255 motion decided on the merits that would require him to seek authorization from the Fourth

Circuit to file a second or successive Section 2255 motion.

       The Court should deny the Government’s motion for a stay and direct it to respond

promptly to Mr. Crowder’s Section 2255 petition.

       Respectfully submitted this 14th day of August, 2020.



                                                    G. ALAN DUBOIS
                                                    Federal Public Defender

                                                    /s/ Halerie M. Costello
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon:

       ASIA J. PRINCE
       Assistant United States Attorney
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       Email: asia.prince@usdoj.gov

by electronically filing the foregoing with the Clerk of Court on August 14, 2020, using the
CM/ECF system, which will send notification of such filing to the above and/or via email.

       This the 14th day of August, 2020.


                                                    /s/ Halerie M. Costello
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